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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                   IN THE UNITED STATES DISTRICT COURT                 June 14, 2019
                     FOR :HE SOUTHERN DISTRICT OF TEXAS             David J. Bradley, Clerk
                              HOUSTON DIV ISION



ANTWAN HENRY ,

                   Plaintiff,

                                             CIVIL ACTION NO . H -18-4414

CARRINGTON MORTGAGE SERVICES ,
LLC; THE BANK OF NEW YORK
MELLON, F/K/A THE BANK OF NEW
YORK, AS TRUSTEE FOR THE
CERTIFICATE HOLDERS OF THE
CWABS , INC ., ASSET-BACKED
CERTIFICATES , SERIES 2006-57
and DITECH FINANCIAL LLC
F/K/A GREEN TREE
SERV ICING , LLC ;


                   Defendants .



                       MEMODAHnUM OPINION AND ORDER



     Plaintiff Antwan Henry (uplaintiff'') filed suit against Ditech
Financial    LLC      t''Ditech''l, Carrington    Mortgage   Services
PAcarrington'o , and the Bank of New York Mellon as Trustee for the
Certificate Holders of the CWABS , Inc . A sset-Backed Certificates,

Series 2006-5 ('%BONYM'') (collectively uDefendants'') in the 80th
Judicial District Court of Harris County , Texas , alleging that

Defendants are improperly attempting to foreclose on his real

property located at 11939 Canyon Valley Drive , Tomball, Texas 77377
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(the uProperty'')    Ditech timely removed the action to this court .l

Pending before the court are Carrington and BONYM 'S Dismissal

Motion (ucartington/BoNYM's Motion'') (Docket Entry No.                     and
Defendant Ditech      Financial    LLC 'S Motion   for   Judgment on        the

Pleadings (uDitech's Motion'') (Docket Entry                        For the

reasons explained below, 50th Carrington/BoNYM's Motion and
Ditech 's Motion will be granted .



                1.   Factual and Procedural Backqround

     On June 27, 2005, Plaintiff executed a $167,200.00 Adjustable
Rate Note (the l'Note'') with Network Funding, L .P . (the ''Original
Lender'') to purchase the Property.z The Note was secured by a Deed
of Trust ,3 which granted the Original Lender a lien on the Property

with a power o f sa1e .4    The beneficiary of the Deed of Trust was



     lsee Notice of Removal, Docket Entry No .

     2See Note, Exhibit           to Carrington/BoNYM's Motion, Docket
Entry No . 7 , p . 16 .
     3The Deed o f Trust originally contained a scriveners error ,
but the error was subsequently corrected by an affidav it recorded
in the Harris County Real Property Records . See Deed of Trust,
Exhibit 2 to Carrington/BoNYM's Motion, Docket Entry No. 7, p. 21
(listing the mortgage identification number for the Loan as
1001504-060590071-6); Mortgagee's Affidavit, Exhibit 4 to
Carrington/BoNYM's Motion, Docket Entry No. 7, p. 43 (correcting
that the actual mortgage identification number for the Loan is
1001504-0605900071-6).
     4See Deed of Trust , Exhibit 2 to Carrington/BoNYM's Motion,
Docket Entry No . 7, pp . 21-22 , 30 . The Note and Deed of Trust are
referred to collectively herein as the uLoan .''
                                     -
                                         2-
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Mortgage Electronic Registration Systems, Inc . ('AMERS'')                   MERS
assigned its interest in the Deed of Trust to BONYM on November 4,

2011 .6 Loan servicing was transferred to Green Tree Servicing LLC

('AGTS''), Ditech's predecessor entity , effective September 14,
2 014 .1

      Plaintiff filed su it against BONYM and GTS , among others, in

this court on August 29, 2014 (the '12014 Action'o , pleading claims
and allegations similar to those in this action .8                    Plaintiff

nonsuited the 2014 A ction after the court denied his request for a

temporary injunction to bar foreclosure .g on January 6, 2015 (the
day after the court denied Plaintiff's motion for a temporary

injunction in the 2014 Action), Plaintiff filed for bankruptcy
protection under Chapter 13 of the Bankruptcy Code in the Southern

District of Texasx D       The bankruptcy court dismissed Plaintiff's


      Ssee id . at 21 .

      6See   A ssignment     of    Deed    of    Tru st,     Exhibit     6     to
Carrington/BoNYM's Motion, Docket Entry No. 7, p. 50.
      Psee    Loan     Modification       Agreement,       Exh ibit    11      to
Carrington/BoNYM's Motion, Docket Entry No. 7. p. 101 (listing the
uLender'' as GTS).
     8see Henry v . Bank of America , N .A . et al ., No . 4 :14-cv -2497,
Docket Entry No . 1 .

      gsee Memorandum Opinion and Order (January 5, 20152, Exhibit
8 to Carrington/BoNYM's Motion, Docket Entry No. 7, pp. 91-947
Notice of Voluntary Dismissal (January 16, 20151, Exhibit 9 to
Carrington/BoNYM's Motion, Docket Entry No. 7, pp. 96-97.
      losee Voluntary Petition, Exhibit 12 to Carrington/BoNYM's
                                                               (continued.- )
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petition shortly thereafter when Plaintiff failed to comply with

the bankruptcy court 's orders x l

     GTS and Plaintiff entered into a Loan Modification Agreement

effective September 1, 2015 .12 In the Loan Modification Agreement ,

Plaintiff    acknowledged    that he was          in   defaultx 3    The Loan

Modification Agreement was recorded in the Harris County Real

Property Records .ld     servicing transferred from GTS'S successor

entity , Ditech , to Carrington effective August 16 , 2017 .15          About

one year after       the Loan Modification Agreement was executed,

Plaintiff filed another voluntary bankruptcy petition , and his

petition was again dismissed shortly thereafter for Plaintiff 's

failure to follow the bankruptcy court's ordersx6




     lol- .continued)
Motion , Docket Entry No .      p . 112 .

     llsee Order of Dismissal (January 22, 20152, Exhibit 13 to
Carrington/BoNYM's Motion, Docket Entry No. 7, p . 119 .
     l2see    Loan     Modification          Agreement ,   Exhibit    11      to
Carrington/BoNYM's Motion, Docket Entry No. 7, pp. 101-04.
     l3see id . at 101 (111 am in default under the loan documents .
     zz)
     l4see id . at 110 .

     Hsee Carrington/BoNYM's Motion, Docket Entry No.                p . 2.
     l6see Voluntary Petition for Individuals Filing for Bankruptcy ,
Exhibit 14 to Carrington/BoNYM's Motion, Docket Entry No. 7, p.
1217 Order of Dismissal        Eseptember 24, 2018), Exhibit 15 to
Carrington/BoNYM 's Motion, Docket Entry No. 7, p . 128.
                                    -
                                        4-
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       Plaintiff filed his Complaint in this action in the 80th

Judicial District Court of Harris County , Texas, on October 15,

2018 .17    Plaintiff's Complaint alleges a number of claims against

some or a11 of Defendants , including quiet title and violations of

the Real Estate Settlement Procedures Act ('%RESPA'') and associated
claims for declaratory reliefx8 Ditech timely removed the action

on November 2o, 2018 .19 Carrington and BONYM filed their Motion on

December            2018 ,    arguing   that     the   court     should   dismiss

Plaintiff's claims against them because Plaintiff 's claims lack

merit.zo       Plaintiff responded to Carrington/BoNYM's Motion on
December          2018 .21 Ditech filed its Motion on January 22, 2019,

also    arguing     that     Plaintiff's   claims      against        should   be

dismissed .zz Plaintiff responded to Ditech 's Motion on February 8,

2019 .23




       l7See Plaintiff's Original Petition (Complaint) (ucomplaint''),
Exhib it A to Notice of Removal, Docket Entry No . 1-1 .
       l8see id . at 33-43 .

       l9see Notice of Removal, Docket Entry No . 1 .

       20see Carrington/BoNYM's Motion, Docket Entry No.
       2lsee    Plaintiff's     Response    to      E7)   Motion    to    Dismiss
('Aplaintiff's Response to Carrington/BoNYM 's Motion'o , Docket Entry
No . l2 .

       22see Ditech 's Motion , Docket Entry No . 17 .

     23see Plaintiff's Opposition to (17) Defendant Ditech Financial
LLC'S Motion for Judgment on the Pleadings CAplaintiff's Response
to Ditech's Motion'o , Docket Entry No. l9.
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                        II .   Standard of Review

     A motion brought pursuant to Federal Ru le of Civil Procedure

12(c) should be granted         there is no issue of material fact and

if the pleadings show that the moving party is entitled to judgment
as a matter of law .    Greenberg v . General M ills Fun Group , Inc w

478 F.2d 254, 256 (5th Cir. 1973). A motion for judgment on the
pleadings is subject to the same standard as a motion to dismiss
for failure to state a claim . See In re Great Lakes Dredge & Dock     -




Co., LLC, 624 F.3d 201, 209 (5th              2010); Guidry v . American
Public Life Insurance Co ., 5l2 F.3d 177, 180 (5th Cir. 2007); Jones
v . Greninger, 188 F.3d          324 (5th Cir. 1999) (per curiam).
     The court must accept the factual allegations of the complaint

as true, view them in a light most favorable to the p laintiff, and

draw a11 reasonable inferences in the plaintiff 's favor . Ramm inq

v . United States, 281 F.3d 158, 16l (5th Cir . 2001); Jones, 188
F .3d at 324 .

     When a federal court rev iews the sufficiency of a
     complaint , before the reception of any ev idence either by
     affidavit or adm issions, its task is necessarily a
     limited one . The issue is not whether a plaintiff will
     ultimately prevail but whether the claimant is entitled
     to offer evidence to support the claims .

Swierkiewicz v . Sorema N.A ., 122 S. Ct. 992, 997 (2002) (quoting
Scheuer v . Rhodes, 94 S . Ct. 1683, 1686 (1974))                  To avoid
dism issal a plaintiff must allege M enough facts to state a claim

to relief that is plausible on its face .''' Doe v . Myspace , Inc .,

528 F .3d 413, 4l8 (5th Cir. 2008) (quoting Bell Atlantic Corp . v .
Twombly,                1955, 1974 (2007)).        Plausibility requires
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''more     than    an   unadorned ,    the -defendant-unlawfully -ham ed-me

accusation .'' Ashcroft v . Iqbal, 129 S. Ct . 1937, 1949 (2009). 'A
claim has facial plausibility when the p laintiff p leads factual

content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged .''                 Id .    ''Where

a   comp laint    pleads   facts   that    are    merely    consistent with         a

defendant 's      liability ,         stops    short   of   the    line       between

possibility and p lausib ility         of entitlement to relief .''               Id .

(quoting Twombly, 127 S. Ct. at 1966) (internal quotation marks
omitted).         The   court   will    unot     accept    as   true    conclusory
allegations, unwarranted factual inferences , or lega l conclusions .''

Gentilello v . Rege, 627 F.3d 540, 544 (5th Cir . 2010).
      When considering a motion to dismiss courts are generally

ulim ited to the comp laint, any documents attached to the complaint,

and any documents attached to the motion to dism iss that are

central to the claim and referenced by the comp laint .'' Lone Star

Fund V (U .S.), L .P . v . Barclays Bank PLC, 594 F.3d 383, 387 (5th
Cir. 2010) (citing Collins v. Morgan Stanlev Dean Witter, 224 F.3d
496, 498-99 (5th Cir. 2000)).             In addition, the court may take

judicial notice of matters of public record, including pleadings
filed in state court . See Joseph v . Bach & Wasserman , L .L .C ., 487

Fed. App'x 173, 178 (5th Cir . 2012).


                                111 . Analysis

         In two separate motions          one by Carrington and BONYM and

another by Ditech          Defendants argue that they are entitled to
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judgment on the pleadings bqcause Plaintiff has failed to plead
plausible claims for relief .             Because the two motions address

overlapping issues , the court will consider them together . For the

reasons explained below , the claims in Plaintiff 's Complaint fail

as a matter of law and Defendants are entitled to judgment on the
pleadings .



A.     Quiet Title (First Cause of Action)

       A suit to remove cloud or to quiet title ex ists M to enab le

the holder of the feeblest equity to remove from his way to legal

title any unlawfu l hindrance hav ing the appearance of better

right .''' Essex Crane Rental Corp . v . Carter,                S .W .3d 366, 388

(Tex . App .     Houston (1st Dist.) 2012, pet . denied) (quoting Bell
v . Ott, 606 S.W .2d 942, 952 (Tex . Civ . App .                Waco 1980, writ
ref'd n .r.e .)). The plaintiff has the burden of proof to establish
his superior equ ity and right to relief .               Id .    To do so ''the

plaintiff must show              an   interest       a    specific property ,

      title to the property is affected by a claim by the defendant,

and    (3) the claim , although           facially valid, is        invalid or
unenforceable .'' Vernon v . Perrien, 39O S .W .3d 47, 61-62 (Tex . App .
     E1 Paso 2012, no pet .) (citation omitted). The plaintiff must
recover on the strength of his own title , not on the weakness of

the defendant's title . Hurd v . BAC Home Loans Servicing , LP, 88O

F. Supp. 2d              (N .D . Tex . 2012)9 Ventura v . Welàs Fargo Bank,

                                      -
                                          8-
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N.A ., Civil Action No. 4 :17-075-A, 2017 WL 1194370, at *2 (N .D.
Tex . March          2017; Martin v . Amerman, 133 S.W .3d 262, 265 (Tex.
2004) (citation omitted).
     Plaintiff p leads a quiet title claim against all Defendants

alleging      that    their   claim   to   the   Property     is   ''invalid ,

unenforceab le and without m erit'' and that Defendants uhave no

estate, title, claim, lien, or interest in the                (Property) .''24
Plaintiff bases his claim on the weakness of Defendants ' title ,

rather than the strength of his own title . Plaintiff also contests

the validity MERS'S assignment to BONYM .            ''Eulnder Texas law,
façially valid assignments cannot be             challenged   for want
authority excep t by the defrauded assignor .'' Reinaqel v . Deutsche

Bank National Trust Co., 735 F.3d 220, 228 (5th Cir . 2013)
Plaintiff therefore lacks standing to challenge MERS 'S assignment

to BONYM , or any other assignment of the Deed of Trust , because he

is the borrower and not the defrauded assignor .

     Furthermore, the documents attached to Carrington/BoNYM's
Motion show that the Deed of Trust created a valid lien (of which
BONYM is the beneficiary) that remains on the Property . Ditech is
no longer the mortgage servicer for the Loan and Ditech is not

attempting to enforce the lien . Carrington is the current mortgage

servicer and claims no interest in the Property independent of its



     24see Comp laint, Exhibit A to Notice of Removal, Docket Entry
No. 1-1, pp. 33-34 f! 260-66.
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right to enforce the lien on BONYM 'S behalf .            For these reasons ,

Plaintiff's quiet title claim against Defendants fails as a matter

of law .



B.      Cancellation of Instrument (Third Cause of Action)

        Plaintiff's   Comp laint    also   alleges    a    ucancellation      of

instrument'' claim against Defendants in which Plaintiff alleges

that the Certificate Holders of the CWABS , Inc . A sset-Backed

Certificates , Series 2006-5, of which BONYM is the Trustee , do not

exist .25    Plaintiff fails to prov ide any facts to support this

assertion . Public records conclusively establish that CWABS , Inc .

Asset-Backed Certificates, Series 2006-5 does ex ist .26 Plaintiff's

ucancellation      of instrument'' claim      does   not contain     specific

allegations against Carrington or Ditech .                For these reasons,

Plaintiff's ncancellation of instrument'' claim fails as a matter of

law .




        25see id. at 38 lf 293-98.
        26see Carrington/BoNYM's Motion, Docket Entry No. 7, p. 10
(citing CWABS Asset-Backed Certificates Trust 2006-5, Annual Report
(F o r m       1 0 -K )       (M a r .       2 7 ,      2 0 0 7 ) ,
https://- .sec.gov/Archives/edgar/data/1354827/00009051480700270
6/efc7-0808 6058375fm10k .txt). CWABS Asset-Backed Certificates
Trust 2006-V is registered with the SEC under CIK# 1354827. See
EDGAR    Page    for CWABS Asset -Backed Certificates Trust           2006-5,
https://-       .sec.gov/cgi-bin/browse-edgar?clK=l3s48z7&ou er=exclud
e&action=getcompany &Find=search .
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C.     Request for Accounting (Fourth Cause of Action)

        uWhen a party can obtain adequate relief at 1aw through the

use    of   standard    discovery    procedures ,   such     as     requests   for

production and interrogatories, a trial court does not err in not

ordering an accounting .''          T .F .W . Management . Inc . v . Westwood

Shores Property Owners Association,               S .W .3d          717-18 (Tex .
App.         Houston    (14th Dist.) 2002, pet. denied).               Plaintiff
requests an accounting on the ground that he udoes not owe the

amount that Defendants have demanded .''z7 Plaintiff does not allege

any facts suggesting that standard discovery techniques will be

inadequate to determine the amount he owes under the Loan .                    The

court therefore declines to order an accounting in this action .



D.     Violation s of the Fair Debt Collection Practices Act (**FDCPA'')
        (Fifth Cause of Action)

        Plaintiff pleads a claim for v iolations of the FDCPA against

Ditech      and   Carrington .      Plaintiff   alleges      that    D itech   and

Carrington failed to send him various notices required by 15 U .S .C .

5 1692g (a) of the FDCPA and that Ditech and Carrington improperly
ucontinued debt collection attemp ts w ithout verifying or validating

the alleged debt .''28 Plaintiff also alleges that he timely disputed

al1 notices sent by Ditech and Carrington and demanded that they



        27See Complaint , Exhibit A to Notice of Removal , Docket Entry
No. 1-1, p. 39 ff 305-07.
       28see id. at 40-41 f! 316-25.
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verify the debt .29     Defendants argue           that Plaintiff has failed

to plead sufficient facts supporting his FDCPA claim and                 that

Defendants do not qualify as debt collectors under the FDCPA .

      The allegations in Plaintiff's FDCPA claim fall short of the

plausib ility standard articulated in Igbal and Twomblv . Plaintiff

fails to allege any facts showing that any of Defendants engaged in

misconduct .     Plaintiff does not plead facts explaining how the

notices sent by Carrington and Ditech were deficient . Therefore ,

even if Carrington and Ditech qualify as udebt collectors'' under

the FDCPA , Plaintiff's FDCPA claims against Carrington and Ditech

fail as a matter of law .



E.    Violations of RESPA (Sixth Cause of Action)
      RESPA requires a loan serv icer to respond by certain deadlines

to a ''qualified written request'' from a borrower . See 12 U .S .C . 5

2605(e). For purposes of RESPA, a uqualified written request'' is
defined as '%a written correspondence , other than notice on a

payment coupon or other payment medium supplied by the servicer ,''

that identifies, specifically or in a way that enables the loan

serv icer to identify , the name and account at issue, and that

''includes a    statement of the          reasons for   the belief of the

borrower, to the extent applicable , that the account is in error or

provides    sufficient     detail   to      the   servicer   regarding   other



      zgsee id. at 41 !! 320, 323.
                                     -   12 -
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information sought by the borrower.'' See id . 5 2605 (e)(1)(B).
recover against a lender or servicer that fails to comply with

RESPA 'S requirements, the borrower must allege either                    that

actual damages resulted from the RESPA violations or (2) that the
defendant engaged in a          upattern or practice of noncompliance''

entitling the Plaintiff to up to $2,000 in statutory damages. 12
U.S.C . 5 2605(f) (1) (A)-(B); Oden v . JpMorqan Chase Bank , N .A .,
No. H-l2-0861, 2012 WL 1610782, at                 (S.D . Tex . May     2012);
Gipson v . Deutsche Bank National Trust Companv , C .A . No . 3 :13-CV-

4820-L (BH), 2015 WL 11120538, at *24 (N .D . Tex. Oct. 27, 2015)
     To support his RESPA         claim against Ditech and Carrington

Plaintiff alleges that he ''mailed to EDitech and Carrington) a
Qualified Written Request (QWR) under RESPA, requesting information
about the servicing of the loan and asserting that (Ditech and
Carrington) had made an error about the amount due.''30 Plaintiff
alleges that Ditech       and    Carrington     failed to    respond to his

qualified written requests, which caused him damages .3l                 While

Plaintiff's   Complaint    alleges       that he    sent   qualified written

requests to Ditech and Carrington , Plaintiff's Complaint fails to

explain what actual damages Plaintiff su ffered as a resu lt of

Carrington and Ditech 's alleged failure to respond .                 Nor does



     39see id. at 41-42 f$ 326, 330.
     3lsee id. at 41-42 $! 327-28, 331-32.
                                     -
                                         13 -
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Plaintiff allege that Ditech and Carrington engaged in a upattern
or practice of noncomp liance'' entitling Plaintiff to statutory

damages.      Because Plaintiff 's Comp laint       fails to p lead facts

showing that Plaintiff suffered actual damages , Plaintiff's RESPA

claim against Ditech and Carrington will be dismissed .



F.     '*unconscionable Inducement'' (Seventh Cause of Action)
       In his    uunconscionable    inducement'' claim     against Ditech ,

Plaintiff alleges that Ditech nprocured an inflated appraisal'' and

that the Loan Modification Agreement between Plaintiff and Ditech

(then GTS) nis unconscionable because it is not understandable by
the 'least sophisticated consumer .'v3z         Plaintiff fails to cite to

any applicable law creating an uunconscionable inducement'' cause of

action under Texas Law .33         Plaintiff has also failed to plead

sufficient facts to allow a fact finder to plausibly conclude that

the Loan Modification Agreement was unconscionable .             Plaintiff's

uunconscionable inducement'' claim against Ditech will therefore be

dismissed .




      32see id. at 42 !! 334-35.
      331n re Halliburton Co., 80 S.W .3d 566 (Tex . 2002), does not
create a cause of action for uunconscionable inducement .''
Halliburton addresses the unconscionab ility of an arb itration
clause in an employment agreement as a defense to enforcement of
that agreement . See id . at 571-72 . The Michigan case cited by
Plaintiff, Clark v. Daimlerchrysler Corp w 706 N .W.2d 471 (2005),
also involved unconscionability as a defense to contract
enforcement and does not create a cause of action for
''unconscionable inducement .''
                                     -   14 -
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G. **Dual Tracking'' (Eighth Cause of Action)
     Plaintiff pleads a claim against Ditech and Carrington for

udual tracking ,'' in which he alleges that Ditech and Carrington

uwhile serv icing a federally related mortgage loan , failed to

notify Plaintiff in writing of an assignment , sale , or transfer of

the servicing of the loan , and did not provide such notice at

settlement.''34 Plaintiff cites 12 U .S.C. 5 2605(f) of RESPA as the
basis of his ''dual tracking'' claim .35 Section 2605(f) articulates
the types of damages provided by RESPA and how costs are to be

allocated in RESPA actions.        See 12 U .S .C.      2605 (f) (entitled
''Damages and costs'')     Plaintiff's ''dual tracking'' claim appears to
be referencing        U .S .C. 5 2605(b)(1), which requires ''Eelach
servicer of any federally related mortgage loan Etol notify the
borrower in writing of any assignment , sale , or transfer of the

servicing of the loan to any other person .''                     U .S .C . 5

2605 (b)(1) .
     As discussed above , to recover under RESPA , a borrower must

show either that he su ffered actual damages or that the servicer's

upattern or practice of noncompliance'' entitle the borrower to

statutory damages .       Plaintiff 's Complaint fails to explain what

actual damages Plaintiff suffered as a result of Carrington and

Ditech's alleged      noncomplaince        with   2605 (b)(1) of RESPA .


     34see Complaint , Exhibit A to Notice of Removal, Docket Entry
No. 1-1, p. 42 !! 338-39.
     35see id . at 42 .
                                    -   1 5-
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Plaintiff's udual tracking'' claim also fails to allege that Ditech

and Carrington engaged in a npattern or practice of noncompliance''

entitling      Plaintiff to    statutory        damages .   Plaintiff 's   udual

tracking'' claim against Carrington and Ditech will therefore be

dism issed .



                          IV . Conclusion and Qrder

     For the reasons exp lained above, Plaintiff has failed to p lead

sufficient facts to state p lausible claims for relief in his

substantive      claims    against       BONYM ,   Carrington ,   and   Ditech .

Defendants have satisfied their burden to show that there are no

issues of material fact with respect to Plaintiff's claims and that

Defendants are entitled to judgment as a matter of law.
     Plaintiff also seeks declaratory relief in connection with his

substantive claims .36 When a1l substantive underlying claims have

been dismissed, a claim for declaratory judgment cannot survive.
Acers v . Aurora Loan Services, LLC, 787 F . Supp . 2d 451, 457 (E .D .

     36See id. at 34-38 $6 269-91 (Second Cause of Action).
Plaintiff seeks declarations that: (1) MERS lacked authority to
assign its interest in the Loan to BONYM; (2) BONYM has no interest
in the Property; and (3) Plaintiff has the right to prepay the
Loan . A s discussed above , Plaintiff lacks standing to contest the
assignment from MERS to BONYM and BONYM has a valid interest in the
Property . Plaintiff's right to prepay the Loan is not in dispute .
See Ditech 's Motion , Docket Entry No . 17, p . 4 ; Note , Exhibit 1 to
Carrington/BoNYM 's Motion, Docket Entry No . 7, p . 17 (explicitly
granting Plaintiff the right to make payments on the principal of
the Loan before they are due).
                                     -
                                         16 -
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Tex. 2011).    Because the court will dismiss all of Plaintiff's
substantive   claim s,    Plaintiff's   Second       Cause     of       Action   for

Declaratory Relief is also subject to dismissal.
     Carrington/BoNYM's Dismissal Motion (Docket Entry No.                          is
therefore GKANVED .      Defendant Ditech Financial LLC 'S Motion for

Judgment on the Pleadings (Docket Entry No .                 is also GKANTED .

     SIGNED at Houston , Texas, on this 14th day of                 u    , 2019 .
                                                                e



                                                 F
                                                    SIM LAKE
                                          UNITED STATES DISTRICT JUDGE
